                                         Case 4:01-cv-01351-JST Document 3647 Filed 08/09/21 Page 1 of 4




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     MARCIANO PLATA, et al.,                            Case No. 01-cv-01351-JST
                                                        Plaintiffs,
                                   8
                                                                                            ORDER TO SHOW CAUSE RE:
                                                 v.                                         RECEIVER’S RECOMMENDATION
                                   9
                                                                                            ON MANDATORY VACCINATION
                                  10     GAVIN NEWSOM, et al.,
                                                                                            Re: ECF No. 3638
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The question of whether COVID-19 vaccinations should be mandatory for CDCR staff has
                                  14   been present in this case since at least February 2021. See ECF No. 3548 at 4-5. On August 4,
                                  15   2021, the Receiver filed a report and recommendation concluding that:
                                  16                  based on the advice of medical and public health professionals,
                                                      including Dr. Joseph Bick, Director of Healthcare Services,
                                  17                  California Correctional Health Care Services (CCHCS), that given
                                                      the rapid and ongoing spread of the Delta variant in California,
                                  18                  mandatory COVID‐19 vaccination for institutional staff is necessary
                                                      to provide adequate health protection for incarcerated persons. Once
                                  19                  COVID‐19 infection has been introduced into a prison, it is virtually
                                                      impossible to contain, and staff are indisputably a primary vector for
                                  20                  introducing into the prison the infection now spreading rapidly in the
                                                      larger community. Therefore, the only method to ensure adequate
                                  21                  protection and care for incarcerated persons is vaccination of all
                                                      persons who can bring infections into the prison. The Receiver also
                                  22                  accepts the view of medical and public health professionals that such
                                                      a policy protects the health of staff and the surrounding communities.
                                  23

                                  24   ECF No. 3638 at 5 (emphasis added). The Receiver recommends “that access by workers to
                                  25   CDCR institutions be limited to those workers who establish proof of vaccination (or have
                                  26   established a religious or medical exemption to vaccination),” and he further recommends “that
                                  27   incarcerated persons who desire to work outside of the institution (e.g., fire camps) or to have
                                  28   in-person visitation must be vaccinated (or establish a religious or medical exemption).” Id. at 2.
                                         Case 4:01-cv-01351-JST Document 3647 Filed 08/09/21 Page 2 of 4




                                   1   He has also concluded that “[d]elaying a mandatory vaccination policy until the next wave is upon

                                   2   us will not produce results until it is too late and the worst of the wave is over.” Id. at 26.

                                   3           On August 5, 2021, the State Public Health Officer issued an order mandating full

                                   4   COVID-19 vaccination for workers in certain health care facilities, including skilled nursing

                                   5   facilities, dialysis centers, hospice facilities, and clinics and doctor offices. Cal. Dep’t of Pub.

                                   6   Health (“CDPH”), Order of the State Public Health Officer Health Care Worker Vaccine

                                   7   Requirement (Aug. 5, 2021), https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-

                                   8   19/Order-of-the-State-Public-Health-Officer-Health-Care-Worker-Vaccine-Requirement.aspx.

                                   9   The order defines “worker” to include “all paid and unpaid individuals who work in indoor

                                  10   settings where (1) care is provided to patients, or (2) patients have access for any purpose,” and to

                                  11   specifically include “persons not directly involved in patient care, but who could be exposed to

                                  12   infectious agents that can be transmitted in the health care setting,” including “security.” Id.
Northern District of California
 United States District Court




                                  13           The State Public Health Officer explained that vaccination “is the most effective means of

                                  14   preventing infection with the COVID-19 virus, and subsequent transmission and outbreaks”; that

                                  15   “[r]ecent outbreaks in health care settings have frequently been traced to unvaccinated staff

                                  16   members”; and that he was issuing the order “to reduce the chance of transmission to vulnerable

                                  17   populations.” Id. He also characterized the settings in which vaccines were being mandated as

                                  18   “particularly high-risk settings where COVID-19 outbreaks can have severe consequences for

                                  19   vulnerable populations including hospitalization, severe illness, and death,” and explained that

                                  20   “the settings in this order share several features. There is frequent exposure to staff and highly

                                  21   vulnerable patients, including elderly, chronically ill, critically ill, medically fragile, and disabled

                                  22   patients. In many of these settings, the patients are at high risk of severe COVID-19 disease due

                                  23   to underlying health conditions, advanced age, or both.” Id.

                                  24           These descriptors would appear to apply equally to CDCR prisons, all of which include

                                  25   clinics, and some of which include other health care facilities specifically identified in the order.

                                  26   Perhaps for that reason, the California Correctional Peace Officers’ Association (“CCPOA”) has

                                  27   indicated that the order, “if legal, would appear to potentially preempt the Receiver’s

                                  28   Recommendation.” ECF No. 3644 at 2. However, CDPH has so far taken the position that the
                                                                                           2
                                           Case 4:01-cv-01351-JST Document 3647 Filed 08/09/21 Page 3 of 4




                                   1   August 5 order does not apply to “State and Local Correctional Facilities” and has stated its intent

                                   2   to issue “forthcoming guidance . . . that considers the unique circumstances of health care

                                   3   integrated into a congregate setting.” CDPH, FAQ – Health Care Worker Vaccine Requirement

                                   4   (Aug. 5, 2021), https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-19/FAQ-Health-

                                   5   Care-Worker-Vaccine-Requirement.aspx. Thus, the Receiver’s recommendations are not moot.

                                   6          Accordingly, the Court orders the parties to show cause as to why it should not order that

                                   7   the Receiver’s recommendations be implemented.1 The Court has reviewed the proposed briefing

                                   8   schedules submitted by the parties, the Receiver, and CCPOA, ECF Nos. 3642-45, and now orders

                                   9   as follows:

                                  10          1.       The parties shall file written responses to this order to show cause no later than

                                  11   August 23, 2021. CCPOA may file a response by the same date, with or without seeking

                                  12   intervention.
Northern District of California
 United States District Court




                                  13          2.       Any requests for intervention or permission to file amicus briefs shall be filed by

                                  14   the same date. Requests for intervention shall be accompanied by the proposed complaint in

                                  15   intervention as well as the proposed brief in response to this order to show cause. Proposed

                                  16   intervenors shall indicate in their request for intervention whether the parties oppose or support

                                  17   intervention. Requests to appear as amicus curiae shall be accompanied by the proposed brief in

                                  18   response to this order to show cause.

                                  19          3.       The parties, CCPOA, and any intervenors whose requests to intervene have been

                                  20   granted may file reply briefs no later than September 3, 2021. The Receiver may file a reply by

                                  21   the same deadline. Unless otherwise ordered, amicus curiae and proposed intervenors whose

                                  22   requests to intervene are denied may not file reply briefs.

                                  23          4.       In addition to making any legal arguments, the parties, CCPOA, and any proposed

                                  24   intervenors must state their opinion on whether they agree or disagree with the public health

                                  25   conclusions described in the Receiver’s report. If they disagree, they shall support their position

                                  26   by declarations. They must also state their position, supported by argument or admissible

                                  27
                                       1
                                  28    Nothing in this order precludes the Receiver from implementing his recommendations without a
                                       court order if he determines that it is appropriate to do so.
                                                                                           3
                                         Case 4:01-cv-01351-JST Document 3647 Filed 08/09/21 Page 4 of 4




                                   1   evidence as appropriate, on whether the rationale behind the State Public Health Officer Order of

                                   2   August 5, 2021, applies to some or all of CDCR’s employees.

                                   3          5.      The Court tentatively sets this matter for hearing on September 16, 2021, at

                                   4   2:00 p.m. This date is subject to change if, for example, the Court concludes that an evidentiary

                                   5   hearing is necessary to explore whether there is any public health basis for rejecting the Receiver’s

                                   6   recommendations, particularly in light of the State Public Health Officer’s August 5, 2021 order.

                                   7          IT IS SO ORDERED.

                                   8   Dated: August 9, 2021
                                                                                       ______________________________________
                                   9
                                                                                                     JON S. TIGAR
                                  10                                                           United States District Judge

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                        4
